    Case 1:24-cr-00257-JPB-JSA             Document 41-1       Filed 06/20/25     Page 1 of 1


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA

                                               )
______________________________,
UNITED STATES OF AMERICA                       )
                           Plaintiff(s)        )
                                               )      Case No. 1:24-CR-257-JPB
                V.                             )
                                               )
______________________________,
DWAYNE PETERSON DAVIS.                         )
                       Defendant(s)            )


                      NOTICE OF FILING OF OFFICIAL TRANSCRIPT

        Notice is hereby given that an official transcript of a proceeding has been filed by the
court reporter/transcriber in the above-captioned matter. Counsel/Parties have twenty-one (21)
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Office public terminal.
                 ______________
                 6/20/2025                __________________________________
                                          PENNY PRITTY COUDRIET
                        Date                         Court Reporter


                     VERIFICATION OF FINANCIAL ARRANGEMENTS

       Proceeding Type:       ______________________________________________
                              CHANGE OF PLEA
                              ______________________________________________
       Proceeding Date:       ______________________________________________
                              5/21/2025
                              ______________________________________________
       Volume Number:         ______________________________________________
                              ______________________________________________

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_____________________________________________________________________________
as counsel/party in this case. He/She is to be provided with remote access to the transcript via
CM/ECF and PACER.

                 ______________
                 6/20/2025                __________________________________
                                          PENNY PRITTY COUDRIET

                        Date                          Court Reporter
